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           EXHIBIT 4
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                                                                            Meta Business Help Center




          How can we help?




      Last updated: Mar 15, 2021




   Rating Options for Fact-Checkers
   1,251 views


   Fact-checkers can review and rate public Facebook and Instagram posts, including ads, articles, photos, videos and text-only posts.

   Below are rating options for third-party fact-checkers, as well as examples of content that is likely to fit within each rating. While Facebook is responsible for setting
   these rating guidelines, it is ultimately the fact-checkers who independently review and rate content – Facebook does not make changes to ratings.

   1. FALSE: Content that has no basis in fact. This includes:

        Fake quotes

        Claims that are impossible, or that could not be considered an interpretation of something that actually happened or was said


               Ex: claim that a natural disaster took place, when no such event happened

               Ex: claim that an individual created or patented something when they did not


        Conspiracy theories that explain events as the secret work of individuals or groups, which may cite true or unverifiable information but present an
        implausible conclusion

               Ex: claim a company is secretly engaged in drug trafficking based on an unrelated issue of charging high prices

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              Ex: claim without evidence that government insiders are directly responsible for a terror attack to provide a pretext for going to war


        Fabricated content from websites misrepresenting themselves as real news outlets

        Image, audio, or video content that is authentic but offered as proof of a separate event (i.e., false context)

              Ex: authentic photo claiming to show no damage in a town after an incident, but that actually was taken before the incident

              Ex: authentic video claiming to show one person confessing to a crime, but that actually is of another person

              Ex: presenting an authentic but old government ordinance as if it were current, when a new ordinance contradicts the old



   2. ALTERED. Image, audio, or video content that has been edited or synthesized beyond adjustments for clarity or quality, in ways that could mislead people. This
   definition includes splicing, but not media excerpts or taking media out of context. Under our Community Standards, we also remove certain manipulated videos that
   are the product of artificial intelligence or machine learning, and that would likely mislead an average person to believe the subject of the video said words they did
   not say. This includes:


        Faked, manipulated or transformed audio, video, or photos

              Ex: changing the speed of a video to misleadingly alter the speech qualities of the speaker

              Ex: adding an image into an authentic photo to present the appearance of something that actually never happened


        Media edited to omit or reorder the words someone said to reverse the meaning of the statement


              Ex: removing the word “not” from someone saying “I will not do X”



   3. PARTLY FALSE. Content has some factual inaccuracies. This includes:


        Inaccuracies or miscalculations regarding numbers, dates, times, but that could be considered an interpretation of something that actually happened or
        was said.

              Ex: misstating the number of people registered for or attending an event

              Ex: miscalculating the cost of a government program


        A mix of true and false key claims, where the false claims do not predominate

              Ex: a list of several claims, some of which are true and some of which are false

              Ex: a video that contains many key claims, some true, some false


        Content presented as an opinion but based on underlying false information


              Ex: advocating for a policy change supported by several key claims, one of which is provably false



   4. MISSING CONTEXT. Content that may mislead without additional context. This includes:

        Clips from authentic video or audio or cropping of authentic photos that lacks the full context from the original content, but that have not otherwise been
        edited or manipulated.

              Ex: cropping a video clip of someone saying “I support that candidate if …” to include only “I support that candidate”


        Media edited to omit or reorder the words someone said that changes, but that does not reverse the meaning of the statement.


              Ex: editing an audio clip of someone saying “person X mishandled that disaster leading to a confused response, and that’s what killed a lot of
              people” to appear as if they said “person X killed a lot of people”


        Hyperbole or exaggeration that is technically false but based on a real event or statement.

              Ex: claiming that a government program has been “zeroed out” when its funding has been dramatically reduced but not eliminated


        Content that presents a conclusion not supported by the underlying facts.

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              Ex: A TV host airs an interview with a source who makes a provably false assertion, and the host doesn’t affirm or question the veracity of the
              claim.


        Claims stated as fact that are plausible but unproven.

              Ex: claiming that a consumer item is safe before it has completed product safety tests



   5. SATIRE. Content that uses irony, exaggeration, or absurdity for criticism or awareness, particularly in the context of political, religious, or social issues, but that a
   reasonable user would not immediately understand to be satirical. This may be from sites not clearly labeled as or widely-known as satire, or presented without clear
   labeling. Content rated as Satire will include fact-checkers’ articles for more context.

   6. TRUE. Content that contains no inaccurate or misleading information.



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         OVERVIEW



         RATING OPTIONS AND PROGRAM POLICIES



         Rating options



         Program policies




         ENFORCEMENT



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          Marketing on Facebook                                                          Marketing objectives

          Success stories                                                                Build your presence

          Measurement                                                                    Create awareness

          Industries
                                                                                         Drive discovery
          Inspiration
                                                                                         Generate leads
          Events
                                                                                         Boost sales
          News
                                                                                         Earn loyalty
          Sitemap

          Facebook Pages                                                                 Facebook ads

          Get started with Pages                                                         Get started with ads

          Setting up your Page                                                           Buying Facebook ads

          Manage your Facebook Page                                                      Ad formats

          Promote your Page                                                              Ad placement

          Create and boost Facebook posts                                                Choose your audience

          Messaging on your Page                                                         Measure your ads

          Page Insights                                                                  Managing your ads


          Resources

          Ads Guide

          Business Help Center

          Audience Network

          Facebook Blueprint

          Facebook for Developers

          Facebook IQ

          Facebook Business Partners

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